                                                   Filed Under Seal Pursuant to CRIMLRS.2(a)(l)
              Case 1:23-mj-01013-WRP Document 14-2 Filed 06/28/23 Page 1 of 4 PageID.50
AO 93C 08/ 18 Warrant b Tel hone or Other Reliable Electronic Means ~ 01iginal O Duplicate 01iginal


                                           UNITED STATES DISTRICT C OURT
                                                                             for the
                                                                       Distii ct of Hawaii

                  In the Matter of the Search of                                 )
              (Briefly describe the property to be searched                      )
               or identify the person by name and address)                       )      Case No. Mag. No. 23-1004 WRP
      One United States Postal Service Priority Mail Parcel                      )
                  Bearing Tracking Number                                        )
                  9405 5092 0556 8727 7542 48                                    )

                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ _ _ _ _ _ _ _ Distiict of                           Hawaii
(identify the person or describe the property to be searched and give its location) :
  See Attachment "A," which is attached hereto and incorporated herein by reference.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
desc1ibed above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment "B," which is attached hereto and incorporated herein by reference.




          YOU ARE COMMANDED to execute this wanant on or before ___________ (not to exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m.                D at any time in the day or night because good cause has been established.

        Unless delayed notice is autho1ized below, you must give a copy of the wruTant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
prope1ty was taken.
        The officer executing this wruTant, or an officer present dming the execution of the wrurnnt, must prepru·e an invento1y
as required by law and promptly retmn this wrurnnt and invento1y to                         Hon. Rom Trader
                                                                                                    (United States Magistrate Judge)

     D Pursuant to 18 U.S .C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of tI'ial), and authorize the officer executing this wanant to delay notice to the person who, or whose
prope1ty, will be searched or seized (check the appropriate box)
     D for _ _ days (not to exceed 30) □ until, the facts justifying, the later specific date of


Date and time issued:             June 23, 2023 at 10:53 a.m.


                                                                                                             Rom A. Trader
City and state:                   Honolulu, HI
                                                                                                             United States Magistrate Judge

                                                                         EXHIBIT 2
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                                                                ATTACHMENT A
                                                              Property to Be Searched

      One USPS Priority Mail envelope / parcel bearing tracking number 9405
5092 0556 8127 7542 48 (“SUBJECT PARCEL”), and to seize items found as
described in Attachment B. The SUBJECT PARCEL measures approximately
12.5” x 9.5”, weighs approximately 0 pounds, 5.0 ounces, bears Pitney Bowes
printed commercial label which indicates it was sent from “MIGHTY WIRELESS,
239 E. 5th St #60, Los Angeles CA 90013-1503” and is addressed to “KEINA
DRAGESET, 888 KAPIOLANI BLVD APT 4301, HONOLULU HI 96813-6054.”

       The SUBJECT PARCEL is presently located in the offices of the United
States Postal Inspection Service in the District of Hawaii. Photograph depicting
the SUBJECT PARCEL is immediately below:




                                                                                       PRESS FIRMLY TO SEAL
                 PRESS FIRMLY TO SEAL




            ~ UN/TEDST/J.TES                                             I PRIORI TY®                                           USPS PRIORITY MAIL®

          IJiflj POST/JL SERVICE®                                                     M A IL
                                                                                                                                                                       0004
        ■ Expected delivery date specified for domestic use.

        ■ Domestic shipments Include $100 of Insurance (restrictions apply).*
                                                                                                                                                                     ~
       ■ USPS Tracking• service included for domestic and many international destinat ions.
       ■ Limited international insurance.'"

       ■ When used internationally, a customs declaration fonn is required.
                                                                                                                                       USPS TRACKING #
       •insurance does not cover certain items. For detalla regarding clalms exclusions see the
       Domestic Mail Manual at http://pe.usps.com•
       .. See International Mail Manual at http://pe.usps.com for avallabllity and !imitations of coverage.

                                                                                                                   lllllllllllll lllllllll ll lllll lllllfIl llllll 111111111111111·
                                                                                                                                 9405 5092 0556 8727 7542 48


       FLAT RATE ENVELOPE
       ONE RATE ■ ANY WEIGHT



      TRACKED ■ INSURED                                                     To schedule free Package Pickup,
                                                                                   scan the QA code.




                                                  EP14F J uly 2022
                                                  OD: 121/2x 91/2                 U SPS.COM/PICKUP             L




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                                ATTACHMENT B
                                Items to Be Seized

The items to be seized are contraband, evidence, fruits, and/or instrumentalities of
narcotics trafficking in violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 846.
including but not limited to:

1. Any and all controlled substances, or mixtures and substances suspected to
   contain a detectable amount of controlled substances.

2. United States Currency and/or bearer instruments.

3. Any items used to package or conceal such controlled substances, and/or
   monies; and

4. Any items or property that tend to identity the person(s) in possession, control
   or ownership of the property that is the subject of this warrant.




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                                                                                                               FILED IN THE
                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                           DISTRICT OF HAWAII
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AO 93& () :DUUDQW E\ 7HOHSKRQH RU 2WKHU 5HOLDEOH (OHFWURQLF 0HDQV (Page 2)                         Lucy H.Carrillo, Clerk of Court


                                                                             Return
Case No.:                                Date and time warrant executed:                   Copy of warrant and inventory left with:
 Mag. No. 23-1004 WRP                      June 23, 2023, ~ 12:36 PM                         USPIS
Inventory made in the presence of :
 Insp Melanie Ramirez and TFO Nick Porter
Inventory of the property taken and name V of any person(s) seized:

 - parcel 9405 5092 0556 8727 7542 48, one large gray padded envelope, one smaller red padded envelope, and two vacuum
 sealed bags
 - approximately 8.6 gross gram of a solid, white powder that field tested positive for fentanyl




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:           June 23, 2023
                                                                                                   /
                                                                                                     Uta.
                                                                                                   Executing officer’s signature

                                                                                         Michael R. Ercolano III, U.S. Postal Inspector
                                                                                                      Printed name and title
